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                    United States District Court
                      District of Massachusetts


                                    )
United States of America            )
                                    )
          v.                        )     Criminal Action No.
                                    )     11-10062-NMG
Russell Rose,                       )
                                    )
          Defendant.                )
                                    )



                          MEMORANDUM & ORDER

GORTON, J.

     Pending before the Court is the emergency motion of

defendant Russell Rose (“defendant” or “Rose”) for compassionate

release pursuant to 18 U.S.C. § 3582(c)(1)(A).

I.   Background

     In December, 2012, a jury found Rose guilty of conspiracy

to distribute, and to possess with intent to distribute, cocaine

and heroin.    In April, 2013, this Court sentenced him to 300

months in prison and 10 years of supervised release.         This Court

later reduced Rose’s sentence to 292 months of incarceration.

Rose is currently serving his sentence at the Devens Federal

Medical Center in Ayer, Massachusetts (“FMC Devens”).




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      Rose moves to modify his sentence to time served and to

convert the remainder of his sentence to a period of supervised

release.   He contends that he suffers from medical conditions

that make him especially vulnerable to contracting COVID-19,

namely high blood pressure, prediabetes and neutropenia, which

is a condition causing a low white blood cell count.          He also

submits that the balance of factors laid out in 18 U.S.C. §

3553(a) weigh in favor of his release.        The government disagrees

and urges this Court to deny defendant’s motion.

II.   Motion for Compassionate Release

      A. Legal Standard

      A court may reduce a defendant’s term of imprisonment

pursuant to 18 U.S.C. § 3582(c) only if, after considering the

factors set forth in § 3553(a), the Court finds that there are

“extraordinary and compelling reasons” warranting such a

reduction. § 3582(c)(1)(A)(i).      Any modification must be made

pursuant to either a motion of the Director of the Bureau of

Prisons or a motion of the defendant after the defendant has

      fully exhausted all administrative rights to appeal a
      failure of the Bureau of Prisons to bring a motion on the
      defendant's behalf or the lapse of 30 days from the receipt
      of such a request by the warden of the defendant's
      facility, whichever is earlier.




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§ 3582(c)(1)(A).   Even if all other requirements are satisfied,

a court should grant a motion for release only if it determines

that the defendant is no longer a danger to the public. Id.

  B. Application

     Rose is not entitled to a modification of his sentence

pursuant to the applicable statute.

     First, Rose has not demonstrated that there are

“extraordinary and compelling reasons” that would justify a

reduction in his sentence.     He is 39 years old and does not

suffer from a condition that places him at such an increased

risk of severe illness from COVID-19 to warrant release.          High

blood pressure is a common medical condition that does not

provide a strong basis for release. See United States v.

Colbert, 2020 WL 3529533, at *3 (E.D. Mich. 2020) (noting that

hypertension “affects 46% of the U.S. adult population” in

holding that defendant’s medical condition is not extraordinary

and compelling).   Neutropenia, which defendant refers to as

“[p]erhaps [his] most concerning risk factor of all,” has not

been considered a sufficiently severe condition to justify

compassionate release during the COVID-19 pandemic. See, e.g.,

United States v. Ellis, 2020 WL 6063840, at *4-5 (S.D. Ind.

2020) (denying motion for compassionate release where defendant

had low white blood cell count); United States v. Wesley, 2020
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U.S. Dist. LEXIS 129172 (E.D. Mich. 2020) (denying motion for

compassionate release where defendant suffered from neutropenia,

hypertension and obesity).     The Warden of FMC Devens maintains

that Rose’s medical conditions can be and are being treated by

prison officials and defendant has not alleged any facts to the

contrary.

     Second, even if there were extraordinary and compelling

reasons supporting a reduction in defendant’s sentence, such a

modification would be inconsistent with the § 3553(a) factors.

Rose has served less than one-half of a lengthy prison sentence

for his central role in a vast drug conspiracy involving a large

amount of cocaine, firearms and obstruction of justice.

Furthermore, he committed the offense for which he is currently

incarcerated while serving a term of supervised release for a

prior drug trafficking offense.      The seriousness of his repeated

crime and the need for just punishment and respect for the law

weigh heavily against defendant’s release. § 3553(a)(2).




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                                 ORDER

     Accordingly, defendant’s motion for compassionate release

(Docket No. 1364) is DENIED.




So ordered.


                                         /s/ Nathaniel M. Gorton
                                         Nathaniel M. Gorton
                                         United States District Judge

Dated November 6, 2020




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